Case 16-56811-jwc      Doc 63     Filed 04/10/20 Entered 04/10/20 16:39:03             Desc Main
                                  Document Page 1 of 3




  IT IS ORDERED as set forth below:



   Date: April 10, 2020
                                                     _________________________________

                                                              Jeffery W. Cavender
                                                         U.S. Bankruptcy Court Judge

 ________________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                      :              CHAPTER 13
SHARONEE NICOLE PARKER                      :              CASE NUMBER A16-56811-JWC
      DEBTOR                                :


              CONSENT ORDER ON TRUSTEE’S MOTION TO DISMISS

       On April 7, 2020 at 1:45 p.m., the Court held a hearing on the Trustee’s Motion to Dismiss

based upon the Debtor’s failure to make Chapter 13 plan payments thus causing a delinquency in

said plan. It further appears to the Court that the Debtor through counsel agreed to a payment

arrangement on a strict compliance basis. For cause shown, IT IS HEREBY

       ORDERED that the Debtor shall resume monthly payments to the Chapter 13 Trustee

immediately and shall make all future payments in a timely manner until the Chapter 13 Plan is

completed. Debtor shall strictly comply with the terms of this Order, and IT IS FURTHER
Case 16-56811-jwc        Doc 63     Filed 04/10/20 Entered 04/10/20 16:39:03             Desc Main
                                    Document Page 2 of 3


        ORDERED that should Debtor fail to make any payment due pursuant to the Plan on a

timely basis for twelve (12) months following entry of this Order, then the case shall be dismissed

without further notice or hearing upon the receipt of the Chapter 13 Trustee's Supplemental Status

Report requesting an Order of Dismissal.

        The Clerk of the Court is directed to serve this Order on all parties included on the attached

distribution list.

                                      END OF DOCUMENT


 PREPARED BY:                                       CONSENTED BY:

 ____/s/____________________                        ___/s/____________________
 Julie M. Anania,                                   Shawn Eisenberg,
 Attorney for Chapter 13 Trustee                    Attorney for the Debtor
 GA Bar No. 477064                                  GA Bar No. 128077
 303 Peachtree Center Ave., NE                      Suite 2100
 Suite 120                                          3350 Riverwood Parkway
 Atlanta, GA 30303                                  Atlanta, GA 30339
 (678) 992-1201                                     Signed by Julie M. Anania
                                                    with express permission
Case 16-56811-jwc        Doc 63   Filed 04/10/20 Entered 04/10/20 16:39:03   Desc Main
                                  Document Page 3 of 3


                                   DISTRIBUTION LIST

Case Number A16-56811-JWC

Sharonee Nicole Parker
8560 Oakley Circle
Union City, GA 30291

Slipakoff & Slomka, PC
Suite 2100
3350 Riverwood Parkway
Atlanta, GA 30339

Nancy J. Whaley
303 Peachtree Center Ave., NE
Suite 120
Atlanta, GA 30303
